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11                              UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                 SAN FRANCISCO DIVISION

14 GOOGLE LLC,                                     Case No. 3:20-cv-03845-EMC

15                Plaintiff,                       [PROPOSED] FINAL JUDGMENT

16         v.
17 SONOS, INC.,

18                Defendant.
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                                                                      [PROPOSED] FINAL JUDGMENT
     Case 3:20-cv-03845-EMC          Document 233-1        Filed 11/26/24      Page 2 of 3




 1          Pursuant to Federal Rule of Civil Procedure 58, Plaintiff Google LLC (“Google”) and

 2 Defendant Sonos, Inc. (“Sonos”) (collectively, “the parties”), by and through their respective

 3 undersigned counsel of record, and subject to the approval of the Court, hereby stipulate and agree

 4 to entry of final judgment as follows:

 5          WHEREAS, Google previously asserted that Sonos infringed claims of U.S. Patent No.
 6 8,583,489 (“’489 patent”), U.S. Patent No. 7,899,187 (“’187 patent”), U.S. Patent No. 7,065,206

 7 (“’206 patent”), U.S. Patent No. 10,140,375 (“’375 patent”), and U.S. Patent No. 10,229,586 (“’586

 8 patent”);
 9          WHEREAS asserted claims 1-11 and 13-20 of the ’375 patent and asserted claims 1-5,
10 7-12, 14-16, and 18, 20 of the ’586 patent were found invalid, cancelled by the U.S. Patent and

11 Trademark Office (“PTO”), and the PTO’s judgments were affirmed by the Federal Circuit in May

12 2024 (for the ’586 patent) and June 2024 (for the ’375 patent);

13          WHEREAS the Court previously dismissed Google’s cause of action of infringement related

14 to the ’206 patent with prejudice and Sonos’s defenses without prejudice (Dkt 107);

15          WHEREAS Google’s claims for infringement of U.S. Patent No. 8,583,489 were dismissed

16 under Rule 12(b)(6) with prejudice on the grounds that the patent is subject-matter ineligible under 35

17 U.S.C. § 101 (see Dkt. 60);

18          WHEREAS the Court granted Sonos’s motion for summary judgment of non-infringement

19 as to claims 1, 3, 4, 10, and 12 of the ’187 patent pursuant to Google’s Strong Encryption Theory

20 on May 7, 2024 (see Dkt. 206); and
21          WHEREAS the Court granted Sonos’s motion for summary judgment of non-infringement

22 as to claims 1, 3, 4, 10, and 12 of the ’187 patent pursuant to Google’s Authentication Theory of

23 Infringement on October 2, 2024 (see Dkt. 228);
24          NOW, THEREFORE, the parties hereby jointly stipulate and agree, subject to the approval

25 of the Court, to the following concerning Google’s outstanding claims and Sonos’s outstanding

26 defenses:

27          1. Judgment is entered for Sonos and against Google that the ’187 patent is not infringed.

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                                                                            [PROPOSED] FINAL JUDGMENT
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1          2. Google’s claims of infringement of the ’375 patent are dismissed with prejudice and

2 Sonos’s defenses related to the ’375 patent are dismissed without prejudice.

3          3. Sonos’s motion for judgment on the pleadings for dismissal of the ’375 patent under 35

4 U.S.C. § 101 (D.I. 127) is denied as moot.

5          4. Google’s claims of infringement of the ’586 patent are dismissed with prejudice and
6 Sonos’s defenses related to the ’586 patent are dismissed without prejudice.

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8          Taxable costs will be addressed by separate order. Each party shall bear its own attorneys’
9 fees.

10         IT IS SO ORDERED

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12 DATED:

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15                                                 The Honorable Edward M. Chen
                                                   United States District Court Judge
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                                                                           [PROPOSED] FINAL JUDGMENT
